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                 IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

In re:                               )
                                     )     Case No. 20-23397
MELVIN PIRCHESKY,                    )
                                     )     Docket No. ___
                       Debtor.       )




                        EMPLOYEE INCOME RECORDS




                                                 /s/ Kathryn L. Harrison
                                                 Kathryn L. Harrison, Esquire
                                                 PA ID 209601
                                                 Campbell & Levine, LLC
                                                 310 Grant Street, Suite 1700
                                                 Pittsburgh, PA 15219
                                                 412-261-0310
                                                 kharrison@camlev.com




{C1140310.1 }
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                                                 )       Docket No. ___
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                                CERTIFICATION OF DEBTOR’S
                           INCOME PURSUANT TO LOCAL RULE 1007.4

            I, Melvin Pirchesky, hereby certify that during the 90-day period preceding the

bankruptcy filing, I have received earned income in the amount of $3,000.00 from Eagle

Ventures, Inc. I also hereby certify that during the 90-day period preceding the bankruptcy filing,

I received income from Social Security Benefits. During the 90-day period preceding the

bankruptcy filing, I received Social Security payments totaling $6,144.00.



Dated: December 21, 2020                                 /s/ Melvin Pirchesky
                                                         Melvin Pirchesky, Debtor




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